                IN THE USDC WESTERN DISTRICT OF AR-FORT SMITH DIV.,
                             ARKANSAS CIVIL DIVISION


 ROGER BURKE                                                        PLAINTIFF

 V.

 NOVARTIS PHARMACEUTICALS
 CORPORATION (ARKANSAS
 SECRETARY OF STATE FILING #:
 100030892)

 NOVARTIS PHARMACEUTICALS
 CORPORATION
 (ARKANSAS SECRETARY OF
 STATE FILING #:800103152)

 and                                                               DEFENDANTS

 LEISURE TIME PRODUCTS, LLC


                   MOTION FOR PRO HAC VICE OF RICHARD ELIAS

       Pursuant to Local Rule 83.5(d), Plaintiff, by and through the undersigned counsel, move

for the admission, pro hac vice, of the following attorney to represent them and appear and

participate on their behalf in this case as co-counsel:

               Lawana S. Wichmann
               Missouri Bar #53999
               ONDERLAW, LLC
               110 E. Lockwood
               St. Louis, MO 63110
               314-963-9000
               314-963-1700 (fax)
               Email: wichmann@onderlaw.com

       Lawana S. Wichmann is a member in good standing of the State Bar of Missouri. (See

Exhibit A-1, Certificate of Good Standing from the Eastern District of Missouri).

       Lawana S. Wichmann affirms that she will be subject to and abide by the rules of this Court

and also recognizes this Court’s authority on matters of discipline. The following counsel


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maintains an office in Arkansas, has previously entered an appearance in this case on behalf of the

Plaintiff, and will continue to act as co-counsel for purposes of this proceeding:



               Shawn Daniels, AR Bar. No. 99126
               DANIELS LAW FIRM, PLLC
               129 West Sunbridge Drive
               Fayetteville, AR 72703
               PH: 479-521-7000
               FAX: 479-437-2007
               Email: shawn@danielsfirm.com


       Wherefore, Plaintiffs requests the Court to grant the above-named counsel permission to

appear and participate pro hac vice in this action.



                                              By: ___Shawn Daniels___________________________
                                                     Shawn Daniels
                                                     Arkansas Bar No. 99126
                                                     DANIELS LAW FIRM, PLLC
                                                     129 West Sunbridge Dr
                                                     Fayetteville, AR 72703
                                                     PH: 479-521-7000
                                                     FAX: 479-437-2007
                                                     Email: shawn@danielsfirm.com
                                                     ATTORNEY FOR PLAINTIFF


                                  CERTIFICATE OF SERVICE

       I hereby certify that on this _ 13th___ day of ___July____, 2020, I electronically filed

the foregoing with the Clerk of Court using the CM/ECF system, which shall send a notification

of such filing to all counsels of record.



                                            By: _Shawn Daniels_________________________________
                                                 Shawn Daniels
                                                 Arkansas Bar No. 99126

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                IN THE USDC Western District of AR-Fort Smith Div., ARKANSAS
                                    CIVIL DIVISION


 ROGER BURKE                                                        PLAINTIFF

 V.

 NOVARTIS PHARMACEUTICALS
 CORPORATION
 (ARKANSAS SECRETARY OF
 STATE FILING #: 100030892)

 NOVARTIS PHARMACEUTICALS
 CORPORATION
 (ARKANSAS SECRETARY OF
 STATE FILING #: 800103152)

 and                                                              DEFENDANTS

 LEISURE TIME PRODUCTS, LLC


         ORDER GRANTING MOTION FOR PRO HAC VICE OF RICHARD ELIAS


         BE IT REMEMBERED on the ____ day of ____________, 2020, there was presented to

the Court the Motion for Admission Pro Hac Vice filed by Lawana S. Wichmann (“Applicant”),

counsel for Plaintiff Roger Burke and the Court, having reviewed the motion, enters the following

order:

         IT IS ORDERED that the Motion for Admission Pro Hac Vice is GRANTED, and

Applicant may appear on behalf of Plaintiff Roger Burke in the above case.

         IT IS FURTHER ORDERED that Applicant, if Applicant has not already done so, shall,

in compliance with Local Rule 83.5(d), immediately tender the amount of $100.00, made payable

to:   ___________________________________




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       IT IS FINALLY ORDERED that Applicant’s Pro Hac Vice status shall not become

effective until Applicant has complied with all provisions of this Order.




       SIGNED this the __________ day of ___________________, 2020.




                                                     _______________________________
                                                     JUDGE PRESIDING
Copies to:

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       OnderLaw, LLC
       110 E. Lockwood
       St. Louis, MO 63119
       PH: 314-963-9000
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       Shawn Daniels, AR Bar. No. 99126
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